              IN THE UNITED STATES DISTRICT COURT FOR THE
                  MIDDLE DISTRICT OF NORTH CAROLINA

ALESIA CANNON et al.,                     ) Civil Action No.: 1:19-cv-00877
                                          )
             Plaintiffs,                  )
                                          )
      v.                                  )
                                          )
AUTOMONEY, INC. and                       )
AUTOMONEY NORTH, LLC,                     )
                                          )
              Defendants.                 )
                                          )

                    DEFENDANTS’ MOTION TO DISMISS
                OR, IN THE ALTERNATIVE, TRANSFER VENUE

      Defendants AutoMoney, Inc. and Auto Money North LLC (collectively

“AutoMoney” or the “Defendants”), by and through the undersigned counsel, and

pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6), Local Civil

Rules 7.2 and 7.3, and 26 U.S.C. § 1404(a), hereby file this Motion to Dismiss or, in

the Alternative, Transfer Venue (“Motion”).

      Under North Carolina conflicts of law rules and principals and the choice-

of-law provisions in all agreements after July 17, 2015, the Agreements are

exclusively governed by South Carolina law. However, Plaintiffs only assert

claims under North Carolina law. Thus, all of Plaintiffs claims must be dismissed

for failure to state a claim.




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      AutoMoney also respectfully asserts that it does not have sufficient contacts

with the State of North Carolina such that this Court’s exercise of jurisdiction over

it would comport with the traditional notions of fair play and substantial justice.

AutoMoney does not have any locations in North Carolina or direct any conduct

into the State of North Carolina other than to enforce its rights under the

Agreements – which are negotiated, executed, and performed in South Carolina.

In the alternative to dismissal, AutoMoney asserts that for the convenience of

parties and witnesses and in the interests of justice the action should be transferred

to the United States District Court for the District of South Carolina.

      The basis for this Motion to Dismiss is set forth more fully in the brief filed

simultaneously herewith.

                                 Respectfully submitted,

                                 LAW OFFICES OF L.W. COOPER JR. LLC

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                                 Counsel for Defendants

DATED: September 6, 2019




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                              CERTIFICATE OF SERVICE

      I hereby certify that on September 6, 2019, a copy of the foregoing

Defendants’ Motion to Dismiss or, in the Alternative, Transfer Venue was served

on counsel for the plaintiffs via the Court’s e-file system to:

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